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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                                Case No. 20-CV-81205-RAR

   SECURITIES & EXCHANGE COMMISSION,

                            Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.,

                           Defendants.
   _______________________________________/

                 ORDER SETTING SETTLEMENT CONFERENCE

         THIS CAUSE, having come before this Court upon the District Court’s

   referral of the pending claims of non-parties Radiant Images, Inc., Giane Wolfe,

   Tourmappers North America, LLC, Julie Paula Katz, Fleetwood Services, LLC,

   Robert Fleetwood, Pamela Fleetwood, Gex Management, Inc., Carl Dorvil, MH

   Marketing Solutions Group, Inc., Michael Heller, Sunrooms Group, Inc., Michael

   Foti, Petropangea, Inc. Johnny Harrison, Volunteer Pharmacy, LLC, Chad Frost,

   Sean Whalen and Yngyin Iris Chen (“Non-Party Movants”) to the undersigned for a

   settlement conference, it is hereby ORDERED AND ADJUDGED as follows:

         The Receiver, counsel for the Securities and Exchange Commission, and

   representatives on behalf of the Non-Party Movants shall appear remotely via Zoom

   videoconference before this Court on Tuesday, January 23, 2024, at 10:00 a.m., for

   a settlement conference. The Court will email the Zoom link to counsel in advance of

   the settlement conference.
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         On the day before the settlement conference, the Court will conduct an ex parte

   fifteen (15) minute telephone conference with counsel for each side (without clients).

   Counsel shall email chambers (reinhart@flsd.uscourts.gov) at their earliest

   convenience to advise the Court of their availability on that date and schedule a time

   for their ex parte telephone conference.      The following rules shall apply to the

   settlement proceedings:

         a.)    NO CONTINUANCES.               This settlement conference shall not be

   continued unless good cause is shown for another date.             Any motions for

   continuance of the settlement conference must be in writing, properly filed with the

   Court prior to the date of the conference, and shall contain a proposed date for

   rescheduling the conference.      Counsel moving to continue the conference shall

   consult with opposing counsel in proposing a new date for the conference.

         b.)    WRITTEN SUBMISSIONS TO THE COURT.                        No later than

   Tuesday, January 16, 2024, counsel shall submit directly to chambers a written

   submission of no more than five (5) pages (single spaced), which shall contain a brief

   explanation of the dispute between the parties, a proposal for resolving the dispute,

   and a brief explanation of why such resolution is appropriate. The submission shall

   also indicate whether there are any liens or any third parties whose involvement

   would help facilitate settlement. The parties are instructed not to submit such

   documents to the Clerk of Court. Rather, to facilitate timely submission of the

   documents,     each       party     shall      email    their    submissions       to

   reinhart@flsd.uscourts.gov. Such submissions will be kept confidential and will
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   not be disclosed to the opposing party without prior approval of the submitting party.

         c.) ATTENDANCE OF PARTIES REQUIRED. The Receiver, counsel for

   the Securities and Exchange Commission, and representatives on behalf of the

   Non-Party Movants shall participate in the settlement conference.          Except as

   provided under Local Rule 16.2E, counsel and each party, or representatives of each

   party, with ultimate settlement authority must be present at the settlement

   conference.

         d.) STATEMENTS NOT ADMISSIBLE. Statements made by any party

   during the settlement conference shall be confidential and privileged. Accordingly,

   parties are encouraged to be frank in their discussions.      The Court expects the

   parties to address each other with courtesy and respect.



         DONE and ORDERED in Chambers this 19th day of December, 2023, at

   West Palm Beach in the Southern District of Florida.




                                          ____________________________________
                                          BRUCE E. REINHART
                                          UNITED STATES MAGISTRATE JUDGE




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